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            Vasquez Law Office
                     Ph n   04- 198
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                      Re Ken Nasset 371781475                                   Date   January 29 2019


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